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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                       CRIMINAL CASE NO.
             v.
                                                       1:13-cr-385-04-JEC-LTW
             JOSE EDGARDO ARRIOZA-MELENDEZ,


                  Defendant.

                                               ORDER

                   This case is before the Court on the Magistrate Judge’s Report

             and Recommendation [96] recommending accepting defendant’s plea of

             guilty tendered on June 4, 2014. No objections to the Report and

             Recommendation [96] have been filed.

                   IT IS HEREBY ORDERED that the Court ADOPTS the Magistrate

             Judge’s Report and Recommendation [96] and ACCEPTS the defendant’s

             plea of guilty as to Count One of the Indictment.

                   SO ORDERED this 19th day of June, 2014.



                                              /s/ Julie E. Carnes
                                              JULIE E. CARNES
                                              CHIEF U.S. DISTRICT JUDGE




AO 72A
(Rev.8/82)
